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UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF COLORADO

ln re: Tiffany Renee Yee
SSN: XXX-XX-SSZ] Case No. 17-19904 KHT
Chapter 13
Debtor(s)/Movant(s)
v.

Capital One Bank (USA), N.A.

Respondent(s)

 

MOTION TO AVOID JUDICIAL LIEN IMPAIRING EXEMPTIONS

 

COMES NOW, the Debtor, by and through counsel lane M. Roberson, Esq., and
hereby submit this Motion to Avoid Judicial Lien Impairing an Exemption, and as grounds
therefore, state as follows:

l. The Movant filed a voluntary petition for relief under Chapter 13 of the
Banl<ruptcy Code on October l(), 2017.

2. This motion is filed pursuant to ll U.S.C. Section 522(t)(l) to avoid and cancel
a judicial lien held by Capital One Bank (USA), N.A,(hereinafter “Capital One”) on real
property used as the debtors’ residence located at 475 West 12th Avenue, # 8623, with a legal
description of CONDOMINIUM UNIT NO. SG, GARAGE NO. 70, STORAGE SPACE
NO. 53, THE BELVADERE TOWER, CITY AND COUNTY OF DENVER, STATE OF
COLORADO.

3. Respondent obtained a judgment against Movants. On or about August 2, 2012
Respondent recorded a transcript of judginth against the real property with the clerk and
recorder of the City and County of Denver, Colorado at reception number 2012102099.
Therefore, pursuant to Colorado law, if the creditor has recorded a lien, said recordation
constitutes a lien on Movants' real and personal property. The amount of the judgment at the
time of the recording was approximately $2,725.36. A copy of the transcript of judgment is
attached as “Exhibit 1”.

4. The above-mentioned real estate is worth $335,000.00 according to a
Comparative Market Analysis performed by Brent Wilhelmi of the Porch Light Real Estate
Group on February 15, 2018, and is encumbered by first and second mortgages totaling
approximately 3249,950.18 as well as assessment and HOA liens in the amount of
312,982.58 totaling $262,932.76.

5. The Debtors’ interest in the property referred to in paragraph 2 and

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encumbered by the lien does not exceed $75,000 [C.R.S. § 38-41-20] (l)(b)] in value and has
been claimed as fully exempt on Schedule C.

6. The existence of Capital One’s lien on Debtor’s real property impairs
exemptions to which the Debtors’ would be entitled under ll U.S.C. § 522(b).

WHEREFORE, Movant prays for an Order against Capital One for the cancellation
and avoidance of the judicial lien on their residential real estate, and for such additional or
alternative relief as may by just and proper.

RESPECTFULLY Submitted this March 9, 2018.

 

RoBERsoN LAW, LLC

720 South Colorado Blvd. - #630-South
Denver, C080246

303-893-0833
e-mail:Roberson@]ustAskJane.com
Attorney for Debtor(s)

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Page: 1 of 1 Reception #: 2012102099
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Debra Johnson, Cierk and Recorder

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717 17th Str'eet. Suite 2300

' Denvet, CO 80202-3317
303/539-3169 Fax (303} 830~0047
MJ File No: 502$5227

 

 

 

 

 

'I'RANSCRIPT 0F JUDGMENT
Original Judgment Amoum: $2,')'25.36 Date of Judgment: lime 25, 2012
Principal: $2.183.29 Colleetion Cosis:
Attorney Fees: $350.00 Cou.rt Costs: $192.07
interest Rale: 0% Imeresc:

Balanee Due on Judgmenl to Date: $2.73'¢'.02
interest to Continue on the Judgment at 8% per armum.

 

I hereby certify under penalty of perjury that the amount(s) due are a true and accurate
representation of a

  
  

[] Partial [] Adjusted
enchnt(s) on the above referenced case.

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Atty. Reg#

111¢ foregoing 'IRANSCRIPT OF JUDGMEN'|` is issued on the above mentioned case in the
County Ceurt, in and for the City and County of Denver based upon the infoa'matioo provided
by the Judgumni Credilor(s)!Plaintih”(s)/Attomey of reoord, with said ease rwna.in.ing a record on
file retained by my olliee.

 

 

MAcHoL AND JoHANNEs LLC BY=

717 17TH sr sTE 2300 D¢pury Cl=dc

DENVER CO 80202 D¢nver County Coun
DATE:

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EXH|BIT1

 

 

 

